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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                                  )
    UNITED STATES OF AMERICA,                     )
                                                  )
    v.                                            )        Criminal Case No. 22-cr-00007-LKG
                                                  )
    MARILYN J. MOSBY,                             )        Dated: September 7, 2023
                                                  )
           Defendant.                             )
                                                  )

                                                ORDER
          On September 7, 2023, the Defendant filed a consent motion to allow the Defendant to
attend the September 8, 2023, pre-trial hearing in the above-captioned criminal matter by video
or telephone, or, alternatively, to waive the Defendant’s appearance at the hearing (ECF No.
236); a related exhibit under seal (ECF 238); and a motion to seal (ECF No. 237). In support of
the motion, the Defendant states that she has an urgent out of town family emergency that will
prevent her from appearing in person at the September 8, 2023, pre-trial hearing. Id.

          Pursuant to Federal Rules of Criminal Procedure 43(b), and for good cause shown, the
Court:
          1.     GRANTS the Defendant’s motion to allow the Defendant to attend the September
8, 2023, pre-trial hearing in the above-captioned criminal matter by video or telephone, or,
alternatively, to waive the Defendant’s appearance at the hearing and EXCUSES the Defendant
from appearing at the September 8, 2023, pre-trial hearing (ECF No. 236); and

          2.     GRANTS the Defendant’s motion to seal (ECF No. 237) and DIRECTS the
Clerk’s office to keep and maintain the related exhibit (ECF No. 238) UNDER SEAL. 1

         IT IS SO ORDERED.

                                                      s/ Lydia Kay Griggsby
                                                      LYDIA KAY GRIGGSBY
                                                      United States District Judge



1
  The Court finds that the exhibit to the Defendant’s motion contains sensitive personal information, the
release of which could result in the invasion of the personal privacy of the Defendant or others.
